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 1   Greg D. Andres
     Antonio J. Perez-Marques
 2   Craig T. Cagney
       (admitted pro hac vice)
 3   DAVIS POLK & WARDWELL LLP
     450 Lexington Avenue
 4   New York, New York 10017
     Telephone: (212) 450-4000
 5   Facsimile: (212) 701-5800
     Email: greg.andres@davispolk.com
 6            antonio.perez@davispolk.com
              craig.cagney@davispolk.com
 7
     Micah G. Block (SBN 270712)
 8   DAVIS POLK & WARDWELL LLP
     1600 El Camino Real
 9   Menlo Park, California 94025
     Telephone: (650) 752-2000
10   Facsimile: (650) 752-2111
     Email: micah.block@davispolk.com
11

12   Attorneys for Plaintiffs WhatsApp Inc. and
     Facebook, Inc.
13
                                  UNITED STATES DISTRICT COURT
14
                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
15
                                          OAKLAND DIVISION
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     WHATSAPP INC., a Delaware corporation,
                                       )           Case No. 4:19-cv-07123-PJH
17   and FACEBOOK, INC., a Delaware    )
     corporation,                      )           [PROPOSED] ORDER GRANTING
18                                     )           PLAINTIFFS’ MOTION TO COMPEL
                     Plaintiffs,       )           DISCOVERY
19                                     )
            v.                         )           DISCOVERY MATTER
20                                     )
     NSO GROUP TECHNOLOGIES LIMITED )               Date:    September 9, 2020
21   and Q CYBER TECHNOLOGIES LIMITED, )            Time:    9:00 a.m.
                                       )            Ctrm:    3
22                   Defendants.       )
                                       )            Judge:   Hon. Phyllis J. Hamilton
23                                     )
                                       )
24                                     )            Action Filed: October 29, 2019
                                       )
25                                     )
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       Case 4:19-cv-07123-PJH Document 116-10 Filed 08/05/20 Page 2 of 2




 1            Before the Court is Plaintiffs’ Motion to Compel Discovery. Having considered the motion

 2   and all supporting papers and opposition papers, IT IS HEREBY ORDERED that:

 3            Plaintiffs’ Motion to Compel Discovery is GRANTED.

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 5   Dated:
                                                  THE HONORABLE PHYLLIS J. HAMILTON
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                                                  U.S. DISTRICT JUDGE
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     [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION TO COMPEL DISCOVERY
     CASE NO. 4:19-CV-07123-PJH
